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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH DAKOTA
                              CENTRAL DIVISION


UNITED STATES OF AMERICA
                                               3:08CR30036-001
                  Plaintiff
                                               ORDER TERMINATING
                  vs.                          CONTINUING GARNISHMENT

ROBIN T. BERNER

                  Defendant

                  and

AUCTION EXCHANGE, INC.,
SACRAMENTO, CA,
and its successors or assigns

                  Garnishee


      Based upon the Motion for Termination of Continuing Garnishment with

Final Accounting on file herein, and pursuant to 28 U.S.C. §3205(c)(10)(C), it is

      ORDERED that the garnishment herein is hereby terminated by Order of

this Court.

      DATED: December 2, 2019

                                     BY THE COURT:

                                        W6.
                                     ____________________________________
                                     MARK A. MORENO
                                     UNITED STATES MAGISTRATE JUDGE
